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EXHIBIT D
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ProNati oO PANY Okemos, Michigan 48805-0150
A ProAssuranca Groop Company a t, °
‘Ql SUL 26 uly 25, 2002
ry.
Mr. William G. Radar nape cage AY
Assistant Comrhissioner PR
State of New Jersey
Department of Banking and Insurance
P,O. Box 325

Trenton, NJ 08625-0325

RE: ProNational Insurance Company
Rate Modification - Final Filing
DoctorCare Rates and Rules Effective September 1, 2002

Dear Mr. Radar:

Enclosed please find for final filing a rate filing for ProNational, An Explanatory
Memorandum prepared by ProNational’s independent actuary is attached for your convenience.

Also, the enclosed underwriting manual has been reformatted to accommodate a new
computer system which the company will switch to later this year, In substance, the rulds are
essentially the same, however, the layout and format of the manual has changed. We have added
a new rule which will allow us to write replacement coverage in the event coverage previously
putchased through another carrier has failed,

Our intent is to convert to 100% claims-made in New J ersey beginning September i,
2002>-As insureds’ policies come up for renewal, formal nou-renewal notices will be issued
along with a claims-made solicitation. Further, we also anticipate a forms change effective

September 1, 2002 in conjunction with our new computer system. A forms and rules filing is
being made under separate cover. .

“We are requesting a September 1, 2002 effective date for this rate filing and would
appreciate the Department’s prompt attention to this filing.

Please feel free to contact me if there are any issues regarding this filing at 1-800-282-
6242, ext, 4422,

Thank you for your assistance in this matter, °

Kahr Nall

Kathryn A. Neville
« Legal Counsel

- 617/949-6500 800/292-1086 Fax 617/849-8977
www.ProNational,com
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EXHIBIT A
. NEW JERSEY DEPARTMENT OF BANKING AND INSURANCE
, OFFICE OF PROPERTY/CASUALTY
FILING SOURCE DOCUMENT
PERSONAL / COMMERCIAL LINES
‘ FOR DEPARTMENT USE ONLY _.
FILE NO: OR. G7 DATE RECEIVED: Pap ted,
ANALYST: nA Ki / LETTER DATE: 7 ates aOR
TYPE OR PRINT THE FOLLOWING INFORMATION
1. MARKET: (Chaoge Ons) Commercial (Rj Personal [9
2, TYPE OF FILING: (Chack All Applicable Boxes) Rate Ge] Rule] Form [4 other 2] Ol |
Plain’ Language Certification (Cj
3. PROPOSED EFFECTIVE DATE: NEW BUSINESS LOO)? OLD 71210 }0.12.)
RENEWALS = |ol@)/ lola |2lola2)
4, COMPANY NAME . GROUP # NAIC #
|_—PrONational Insurance Company, ine. 2698 38954,
DEPARTMENT
3. LINE 8, SUBLINE 7. PROGRAM NAME USE ONLY
Professional liahili fy Physic Bis, Sure.| ‘Health Care Brofesgatong] a _CODE
Dentiets,—Podiete;liahi lity k
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NEW JERSEY DEPARTMENT OF BANKING AND INSURANCE
OFFICE OF PROPERTY/CASUALTY
' 1 FILING SOURCE DOCUMENT
9, Does this filing contaln any provisions previously disapproved by tha New Jersey
Insurance Department? Yes FE} No Ez]

If yas, provida the New Jersey Department File #

10. Doas this filing change Rates, Rules or Forms currently approved and on file with the

Naw Jersey Insurance Department? Yas No
lf yes, provide the following: New Jersey Departmant File # 00-1986
Effective Data November 1, 2000

11. Is this filing identical to another submission filed for use in Naw Jersey by another carrier?
Yes] No Bo

lf yas, provide the following: New Jersey Department Flie #
Company Name

12. Enter applicable Annual Statemant Statutory Page 14 line of business number(s) for the line of
Insurance balng filed. LIne No. 11, Medical Malpractice

13, Does this filing have an impact on rates charged to insureds?
Yes GJ Nok

Ifyas, provide the following: Overall Percentage Chatige See Eynlanatory.Memo
Dollar Impact
Number of exposures affected by change
How measured (# of drivers, policlas, etc.) _
Ranga of increase/decraasa per Insured — %
Current and Proposed Statewide Average Premium
(For Homeowners show separately for owner and tenant forms)

AFFIDAVIT OF GOMPLIANGE
The attached filing, ta the best of my knowledge and bellef, fully confarme to all pertinent State of New Jersey
laws, and New Jersey Department of Banking and Inaurance rulas and requirements. The attached filing, to tha bast
of my knowledge and balief, contains no provisions previously disappraved by the New Jersey Department of Banking
and Inaurance or Its predecessors, axcapt as specifically noted above,

Name (Please Print): LaQuita B, Goodwin

Signature Chute fp. Metatitin

Title: __ Compliance Specialist
Phone #: 800-282-6242, ext, 4426

Fax#: 205-414-2887

E-MallAddress: oy. goodwin@nroassurance..com

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ProNational Insurance Company
Rates Effective September 1, 2002
New Jersey Health Care Providers

Explanatory Memorandum,

ProNational Insurance Company is filing new Physicians’ and Surgeons’ Malpractice rates to be
effective September 1, 2002. The company started writing business in New Jersey in 1999,
ProNational has never written a book of business large enough to be credible for ratemaking

purposes.

The rates we are filings will produce 7% more overall premium than do Princeton’s Preferred rates,
as measured on our December 31, 2001 in-force book of business. ProNational is adopting the
specialty class rating relativities from its Model countrywide class plan.

Overall Rates and Specialty Relativities

Using ProNational’s Model specialty rating relativities, the company selected a base rate (for a class
80420 Physician) in such a manner that its rates and Princeton’s Preferred rates produce the same
overall premium on ProNational's December 31, 2001 in-force book of business. For this
calculation we assume that all ProNational business is written at a $1 million/$4 million linit of
liability on a Mature Claims-Made policy,

Exhibit 1 compares the current ProNational rates, Princeton Preferred 2002 rates, and ProNational’s
proposed rates by specialty,

As mentioned above, ProNational’s Mature Claims-Made $1 Million/$3 Million tates will equal
107% of Princeton's Preferred 2002 rates, on average. They will be 46.2% higher than
ProNational’s current Occurrence rates and 55.9% higher than ProNational’s current Mature Claims-
made rates.

ProNational is not filing Occurrence rates. All references in the current rating procedure that refer to
a “base” policy of the Occurrence type have been xewritten to reference a Mature Claims-Made
policy.

ProNational developed the proposed rates using its Model class plan. Exhibit 1 shows how the rates
will change by specialty when it adopts this plan.

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Expense Provisions

The following expense ratio provisions apply to New Jersey rates,

Catepory Amount
Acquisition 14.7%
General Expense 6.1
Premium Taxes 2.1
Death, Disability, and Retirement 5.0
Unallocated Loss Adjustment Expense 5.5
Total Expense Ratio 33.4%

Relationship to Princeton's Rates

In setting rates ProNational recognizes the investment income earned on both the Unearned premium
and loss reserves, ProNational also recognizes that it must provide surplus to support the business
and that the investment return on this surplus is less than the return on equity needed to write the

business,

4

tn this filing, ProNational assumes that its average Loss and Allocated Loss Adjustment expense will
equal Princeton’s. Under this assumption, Exhibit 2 shows the derivation of the 7% indicated rate
differential between ProNational’s Mature Claims-Made rates and Princeton’s Occurrence rates,
This 7% differential arises from several factors:

® The ProNational expense provisions are higher than Princeton’s.

* The ProNational payout pattern is shorter than Princeton’s.

¢ The Claims-Made expense ratio is higher than Occurrence, because Claims-Made policies
need to provide for the free “tail” coverage in the event of Death, Disability, or Retirement.

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Step-Rating Factors

Our filed step-rating factors are shown below, along with ProNational’s and Prinseton’s current

factors.
Proposed Current Princeton

Year Factor Factor Factor
1% 0,38 0.38 0.30
gn 0.60 0.53 0.57
ae 0.85 0.76 0.84
qm 0.92 0.86 0.91
Mature 1.00 1,00 1.00

The current factors look different from those in ProNational’s current manual. This is because we
have rescaled the factors to use the Mature Claims-Made policy as the base, rather the current
manual’s use of the Claims-Made with Prepaid Tail as the base,

Extended Reporting Endorsement Rates

Extended Reporting Endorsement (“Tail”) rates are calculated by multiplying the Mature Claims-
Made rates by the following factors:

Year of last ERP
Claims-~ Made Polic: Factor

4" year 0,72

2™ year 1.22

e year 1.47

4" year 1.63

Mature 1.75
The ProNational method for determining these factors recognizes that these factors should decrease

as the Claims-Made Step rating factors increases, These factors are all lower than the current
factors.

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Dentists and Podiatrists

The procedure for rating Dentists remains unchanged: The current factors are applied to the new
base rate (Rating Class 3, Mature Claims-Made policy).

The procedure for rating Podiatrists remains unchanged. In this proposal, ProNational renames its
current Podiatrist classes 10 and class 20 as class 18 and class 19 respectively. The rating factor for
class 18 equals the current class 10 factor, while thé class 19 factor equals the current class 20 factor.

Because the rating factors for Dentists and Podiatrists remain unchanged, these classes will
experience the same rate increase as the Class 3 Physicians,

Increasedl Limits Factors

ProNational will continue to use $1,000,000/$3,000,000 as its base limits, and is not changing the
Increased Limits Factors.

Emergency Room and Urgent Care per Patient Rates

The proposed rate for Emergency Room rated on a per patient basis (code 80429) increases the sare
percentage as that for the Emergency Room Physician (80102) class. The proposed Urgent Care rate
(code 80424) increases the same percentage as that for a Family Practice Physician (code 80420).

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